Case 2:21-bk-14596-NB   Doc 1 Filed 06/02/21 Entered 06/02/21 15:23:36   Desc
                        Main Document    Page 1 of 12
Case 2:21-bk-14596-NB   Doc 1 Filed 06/02/21 Entered 06/02/21 15:23:36   Desc
                        Main Document    Page 2 of 12
Case 2:21-bk-14596-NB   Doc 1 Filed 06/02/21 Entered 06/02/21 15:23:36   Desc
                        Main Document    Page 3 of 12
Case 2:21-bk-14596-NB   Doc 1 Filed 06/02/21 Entered 06/02/21 15:23:36   Desc
                        Main Document    Page 4 of 12
Case 2:21-bk-14596-NB   Doc 1 Filed 06/02/21 Entered 06/02/21 15:23:36   Desc
                        Main Document    Page 5 of 12
Case 2:21-bk-14596-NB   Doc 1 Filed 06/02/21 Entered 06/02/21 15:23:36   Desc
                        Main Document    Page 6 of 12
Case 2:21-bk-14596-NB   Doc 1 Filed 06/02/21 Entered 06/02/21 15:23:36   Desc
                        Main Document    Page 7 of 12
Case 2:21-bk-14596-NB   Doc 1 Filed 06/02/21 Entered 06/02/21 15:23:36   Desc
                        Main Document    Page 8 of 12
Case 2:21-bk-14596-NB   Doc 1 Filed 06/02/21 Entered 06/02/21 15:23:36   Desc
                        Main Document    Page 9 of 12
Case 2:21-bk-14596-NB   Doc 1 Filed 06/02/21 Entered 06/02/21 15:23:36   Desc
                        Main Document    Page 10 of 12
Case 2:21-bk-14596-NB   Doc 1 Filed 06/02/21 Entered 06/02/21 15:23:36   Desc
                        Main Document    Page 11 of 12
Case 2:21-bk-14596-NB   Doc 1 Filed 06/02/21 Entered 06/02/21 15:23:36   Desc
                        Main Document    Page 12 of 12
